                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION

                                      NO. 3:18-CV-00030

 YURI KOROTKOV & IRYNA                         )
 PAVLOVNA KOROTKOVA,                           )
                                               )
                  Plaintiffs,                  )      NOTICE OF WITHDRAWAL AND
                                               )       SUBSTITUTION OF COUNSEL
                  v.                           )
                                               )
 SUNTRUST MORTGAGE, INC.,                      )
                                               )
                  Defendant.                   )

        TO:      THE CLERKS OF COURT AND ALL PARTIES OF RECORD:

        Pursuant to Local Rule 83.1(e)(1), Elizabeth C. Stone, who has appeared as counsel for

Defendant SunTrust Mortgage, Inc. (“SunTrust”), is leaving the firm of Williams Mullen, and

her appearance in this matter should be withdrawn. Lauren E. Fussell, also of the law firm

Williams Mullen, made an appearance in this matter [D.E. 9] and will remain as counsel of

record for SunTrust.

        This the 5th day of October 2018.

                                            WILLIAM MULLEN


                                            BY: s/Elizabeth C. Stone
                                            Elizabeth C. Stone
                                            N.C. State Bar No. 36690
                                            P.O. Box 1000
                                            Raleigh, North Carolina 27602
                                            Telephone: (919) 981-4000
                                            Facsimile: (919) 981-4300
                                            Attorneys for Defendant SunTrust Mortgage, Inc.




37038043_1
             Case 3:18-cv-00030-GCM Document 10 Filed 10/05/18 Page 1 of 2
                               CERTIFICATE OF SERVICE

        I, Elizabeth C. Stone, do hereby certify that the foregoing or attached document was served

upon all parties of record by mailing a copy thereof to the parties of record at the addresses

indicated below with the proper postage attached and deposited in an official depository under the

exclusive care and custody of the United States Postal Service in Raleigh, North Carolina, on the

5th day of October, 2018.

                                             WILLIAM MULLEN


                                             BY: s/Elizabeth C. Stone
                                             Elizabeth C. Stone
                                             N.C. State Bar No. 36690
                                             P.O. Box 1000
                                             Raleigh, North Carolina 27602
                                             Telephone: (919) 981-4000
                                             Facsimile: (919) 981-4300
                                             Attorneys for Defendant SunTrust Mortgage, Inc.
SERVED:

M. Shane Perry
109 W. Statesville Ave.
Mooresville, NC 28115
Attorney for Plaintiffs




37038043_1
             Case 3:18-cv-00030-GCM Document 10 Filed 10/05/18 Page 2 of 2
